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1                               UNITED STATES DISTRICT COURT
2                            SOUTHERN DISTRICT OF CALIFORNIA
3      BORREGO COMMUNITY HEALTH                            Case No.: 22-cv-1056-AJB-AGS
       FOUNDATION,
4                                                          NOTICE AND ORDER: (1) FOR
                                          Plaintiff,       EARLY NEUTRAL EVALUATION
5
       v.                                                  AND (2) SETTING RULE 26
6                                                          COMPLIANCE AND CASE
       Karen HEBETS, et al.,                               MANAGEMENT CONFERENCE
7
                                       Defendants.
8
9           An Early Neutral Evaluation and Case Management Conference will be held by
10    Magistrate Judge Andrew G. Schopler on February 27, 2023, at 9:00 a.m.
11    Notwithstanding the pendency of any motion, the parties must timely comply with the
12    following dates, deadlines, and mandatory instructions:
13          1.     Mandatory Zoom Appearances: All parties and lead attorneys must appear
14    by way of the Zoom videoconference program at the ENE. A party that is a business,
15    organization, or other entity must have at least two people appear at the ENE: (1) the party’s
16    representative (someone other than the lead attorney) who has full settlement authority and
17    (2) its lead attorney. In addition, all insurance adjusters and anyone else needed to
18    authorize full settlement must appear. Government entities are excused from this personal-
19    appearance requirement, so long as their lead attorney appears in person and has the power
20    to recommend a resolution to the ultimate settlement authority. All participants must clear
21    their schedules for the entirety of the day.
22          2.     Interpreters: If a party is not fluent in English, that party’s counsel must
23    ensure that an appropriate Court-certified interpreter appears in person at the ENE. If a
24    non-English-speaking party is not represented by counsel, that party must ensure that an
25    appropriate Court-certified interpreter appears in person at the ENE.
26          3.     Notice of Settlement Impediments: To avoid wasting the Court’s and
27    parties’ time and resources, the parties must inform the Court of any serious impediments
28    to settlement discussions, especially impediments that will prevent a party from making a

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1     meaningful offer or counter-offer at the ENE. If either party identifies such an impediment,
2     it shall so inform the Court at the earliest possible opportunity, but no later than the deadline
3     for the Joint Discovery Plan or ENE Statement. If a party chooses to inform the Court of
4     such settlement impediments in its ENE Statement or the Joint Discovery Plan, that
5     information must appear in a clearly labeled “Settlement Impediments” section. Depending
6     on the nature of the impediment, the Court may set a telephonic status conference, re-
7     schedule the ENE, or take other action.
8           4.      ENE Statements: By the below-listed date, the parties must email their ENE
9     statements to efile schopler@casd.uscourts.gov. Each statement, which is limited to five
10    pages, must outline:
11       a. All ENE attendees for that side, including their names, titles, and positions.
12       b. The nature of the case, including the claims and defenses.
13       c. The requested settlement terms. These settlement terms may be attached as an
14          addendum or exhibit, rather than included in the five-page ENE statement. But the
15          requested settlement terms must include:
16          (1) A specific financial demand or offer (or a detailed explanation of why a financial
17               demand or offer cannot be made), and
18          (2) All other settlement terms (for example, confidentiality, tax treatment,
19               employment retention/termination, etc.).
20    If exhibits are attached and the total submission amounts to more than 20 pages, a courtesy
21    hard copy must also be delivered directly to Chambers. At their discretion, the parties may
22    choose to share their statements with opposing counsel or to keep them confidential.
23          5.      Case Management: A Joint Discovery Plan must be filed on the CM/ECF
24    system as well as lodged with Judge Schopler by emailing the Plan to
25    efile_schopler@casd.uscourts.gov as set out below. If the Plan with its attachments
26    exceeds 20 pages, a courtesy paper copy must be delivered to Judge Schopler’s Chambers.
27    If the parties wish to modify the tentative discovery dates or limitations listed below
28

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1     (confirmed dates are boldfaced; tentative dates are not), the Plan must set forth case-
2     specific good cause for the proposed modifications.
3                              CASE MANAGEMENT SCHEDULE
4                          Event                                 Deadline
5          Rule 26(f) Conference                             January 31, 2023
6          Rule 26 Initial Disclosures                       February 14, 2023
7          Joint Discovery Plan                              February 17, 2023

8          ENE Statements                                    February 17, 2023
           ENE and CMC                                February 27, 2023, at 9:00 a.m.
9
           Motions to Amend                                    April 24, 2023
10
           Expert Witness Designations and
                                                                July 3, 2023
11         Disclosures
           Rebuttal Expert Witness Designations
12                                                             July 31, 2023
           and Disclosures
13         Fact Discovery Completion                          August 28, 2023
14         Expert Discovery Completion                        August 28, 2023
15         MSC Statements                                    September 1, 2023
16         Mandatory Settlement Conference            September 11, 2023, at 9:00 a.m.
17         Pretrial Motions                                 September 25, 2023

18         Rule 26(a)(3) Disclosures                         December 28, 2023
           Meet and Confer on the PTO                         January 4, 2024
19
           Draft PTO to Defense Counsel                       January 11, 2024
20
           Lodge PTO                                          January 18, 2024
21
           Final Pretrial Conference                   January 25, 2024, at 2:00 p.m.
22
23
                                   DISCOVERY LIMITATIONS
24                       Discovery Type                 Restriction (Per Side)
25               Depositions                                No more than 10
26               Requests for Admission                     No more than 25
27               Interrogatories                            No more than 25
28               Requests to Produce Documents              No more than 25

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1           6.      Magistrate Judge Consent Forms: If all parties consent to the Magistrate
2     Judge exercising jurisdiction to conduct all proceedings, including trial, each party must
3     provide plaintiff’s counsel with an executed copy of the attached consent form. Plaintiff
4     should file these consent forms in paper format at the Clerk’s Office as soon as possible.
5     See Local Civil Rule 73.1. The consent forms should not be filed with the court
6     electronically. The parties are free to withhold consent without adverse consequences. In
7     fact, unless all parties consent to the Magistrate Judge’s jurisdiction, no judicial officer will
8     be informed about the consent forms or their contents. Questions related to the consent
9     forms should be directed only to the Clerk’s Office at (619) 557-5600. Please do not call
10    Chambers’ staff with questions on this issue.
11          7.      Notice to New Parties: If any parties respond to the complaint after today’s
12    date, plaintiff’s counsel must promptly notify them about the ENE and this Order.
13          8.      Pre-ENE Settlement: If the parties resolve the matter, they must telephone
14    Judge Schopler’s Chambers as soon as possible. In order for the ENE to be vacated and
15    personal appearances excused, the parties must:
16               a. File a Joint Motion to Dismiss and separately email the assigned District Judge
17                  a proposed order; or
18               b. File a Settlement Notice containing the electronic signatures of counsel for all
19                  settling parties; or
20               c. Obtain Court approval to vacate the ENE and avoid personal appearances, by
21                  explaining in the telephone call to Judge Schopler’s Chambers the
22                  extraordinary circumstances that prevent the parties from complying with
23                  options a or b, above.
24    Dated: October 28, 2022
25
26
27
28

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                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA



  BORREGO COMMUNITY HEALTH                                   Case No.: 22-cv-1056-AJB-AGS
  FOUNDATION,
                         Plaintiff(s)                        NOTICE, CONSENT, AND
                                                             REFERENCE OF A CIVIL ACTION TO
  v.                                                         A MAGISTRATE JUDGE

  Karen HEBETS, et al.,
                                      Defendant(s)



 Notice of a magistrate judge's availability. A United States magistrate judge of this court is available
 to conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry
 of a final judgment. The judgment may then be appealed directly to the United States court of appeals
 like any other judgment of this court. A magistrate judge may exercise this authority only if all parties
 voluntarily consent.

 You may consent to have your case referred to a magistrate judge, or you may withhold your consent
 without adverse substantive consequences. The name of any party withholding consent will not be
 revealed to any judge who may otherwise be involved with your case.

 Consent to a magistrate judge's authority. The following parties ☐ Consent / ☐ Do Not Consent*

 to have a United States magistrate judge conduct all proceedings in this case including trial, the entry
 of final judgment, and all post-trial proceedings.
              Printed Names                 Signatures of all parties and counsel for all parties   Dates




                                           REFERENCE ORDER
 IT IS ORDERED: This case is referred to United States Magistrate Judge Andrew G. Schopler, to
 conduct all proceedings and order entry of a final judgment in accordance with 28 U.S.C. § 636(c),
 Fed. R. Civ. P. 73, and CivLR 73.1.


  Date                                             United States District Judge

 * Pursuant to Civil Local Rule 73.1, if (and only if) all parties have consented to the
 reference to a magistrate judge, then Plaintiff shall file the consent form(s) in paper format
 at the Clerk’s Office.
